                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:01CR66


UNITED STATES OF AMERICA        )
                                )
           vs.                  )                              ORDER
                                )
JAMES EDGAR MUNSON,             )
                                )
           Defendant.           )
________________________________)

       THIS MATTER is before the Court on Defendant’s pro se Motion for

Reconsideration filed February 23, 2007. (Doc. # 438).

       Defendant contends that his attorney failed to raise a legal argument regarding the

application of the proper version of the United States Sentencing Guidelines at his re-

sentencing hearing on February 12, 2007. Defendant filed this pro se motion on February

23, 2007. On March 2, 2007, the Court entered an Amended Judgment. On March 9,

2007, Defendant’s attorney filed a notice of appeal.

       Because this Defendant is represented by counsel, the Court is not inclined to

consider this pro se filing. The proper remedy for Defendant to challenge the Court’s

judgment is to appeal, which Defendant has timely done through his attorney.1

Defendant’s motion must therefore be denied.

       IT IS, THEREFORE, ORDERED that Defendant’s Motion for Reconsideration is

hereby DENIED.

       1
         The Court notes that Defendant, because he is represented by retained counsel, has
received two notices from the Fourth Circuit Court of Appeals requiring that Defendant pay the
appellate filing and docketing fee to the clerk of court for this district or file a CJA 23 Affidavit
with the Fourth Circuit. (Doc. ## 445, 447). The Court strongly recommends that Defendant
comply with these requirements if he intends to go forward with his appeal.



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                               Signed: May 7, 2007




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